Case 1:19-cv-01986-MN Document 19 Filed 01/30/20 Page 1 of 15 PageID #: 256




                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

ARBOR GLOBAL STRATEGIES, LLC.,

                               Plaintiff
                                                         C.A. No. 19-cv-01986-MN
                          v.

XILINX, INC.,

                           Defendant.


             XILINX INC.’S REPLY BRIEF IN SUPPORT OF ITS
        MOTION TO DISMISS UNDER FED. R. CIV. P. 12(B)(1) AND 12(B)(6)

                                           FISH & RICHARDSON P.C.
                                           Ronald P. Golden III (#6254)
                                           222 Delaware Avenue, 17th Floor
                                           Wilmington, DE 19801
                                           (302) 652-5070
                                           golden@fr.com

                                           David M. Hoffman
                                           111 Congress Avenue, Suite 810
                                           Austin, TX 78701
                                           (512) 472-5070
                                           hoffman@fr.com

                                           Jeffrey Shneidman
                                           One Marina Park Drive
                                           Boston, MA 02210
                                           (617) 542-5070
                                           shneidman@fr.com

Dated: January 30, 2019                    Attorneys for Xilinx Inc.
 Case 1:19-cv-01986-MN Document 19 Filed 01/30/20 Page 2 of 15 PageID #: 257




                                                 TABLE OF CONTENTS

I.     Introduction ............................................................................................................1

II.    AGS Has Not Shown It Had Standing to Bring This Lawsuit...............................1

       A.         Arbor Company Assigned the Ownership of and the Right to
                  Sue on the Patents-in-Suit to Mary Ann Guzy and Mark Guzy ................1

       B.         AGS Has Not Shown Any Assignment From Mark Guzy or
                  Mary Ann Guzy .........................................................................................3

       C.         AGS’s Opposition Relies on Inapposite Case Law And Ignores
                  Binding Federal Circuit Precedent .............................................................4

       D.         AGS’s Additional Materials Beyond the Pleadings Do Not
                  Evince Standing .........................................................................................7

III.   The Complaint Does Not Plausibly Allege Infringement and Instead
       Plausibly Alleges Non-Infringement .....................................................................8

IV.    Conclusion ...........................................................................................................10




                                                                   ii
 Case 1:19-cv-01986-MN Document 19 Filed 01/30/20 Page 3 of 15 PageID #: 258




                                               TABLE OF AUTHORITIES

                                                                                                                               Page(s)

Cases

Abraxis Bioscience, Inc. v. Navinta LLC,
   625 F.3d 1359 (Fed. Cir. 2010)......................................................................................1, 2, 3, 7

Akazawa v. Link New Tech. Int’l, Inc.,
   520 F.3d 1354 (Fed. Cir. 2008)..................................................................................................7

Alston v. Parker,
    363 F.3d 229 (3d Cir. 2004).....................................................................................................10

Applied Cos. v. U.S.,
   144 F.3d 1470 (Fed. Cir. 1998)..................................................................................................4

Contrast DDB Techs., L.L.C. v. MLB Advanced Media, L.P.,
   517 F.3d 1284 (Fed. Cir. 2008)..................................................................................................5

Cumberland Pharm. Inc. v. Sagent Agila LLC,
  2013 WL 5913742 (D. Del. Nov. 1, 2013) ..............................................................................10

In re Cybernetic Servs., Inc.,
    252 F.3d 1039 (9th Cir. 2001) .......................................................................................2, 3, 4, 5

Gerber Sci. Int’l, Inc. v. Satisloh,
   2009 WL 2869705 (D. Conn. Sept. 2, 2009) .........................................................................6, 7

Horatio Washington Depot Techs. v. TOLMAR,
   No. 17-1086-LPS-CJB, 2018 WL 5669168 (D. Del. Nov. 1, 2018), report and
   recommendation adopted, 2019 WL 1276028 (D. Del. Mar. 20, 2019)....................................9

Kanematsu Corp. v. Advanced Materials Lanxide,
   2002 WL 32332375 (D. Del. Sept. 30, 2002) ........................................................................5, 6

Kowalski v. Mommy Gina Tuna Res.,
  2008 WL 583553 (D. Haw. Mar. 3, 2008).................................................................................2

Lone Star Silicon Innovations LLC v. Nanya Tech. Corp.,
   925 F.3d 1225 (Fed. Cir. 2019)..................................................................................................1

Lujan v. Defs. of Wildlife,
   504 U.S. 555 (1992) ...................................................................................................................8

Ottah v. BMW,
   230 F. Supp. 3d 192 (S.D.N.Y. 2017), aff’d sub nom. Ottah v. Fiat Chrysler,
   884 F.3d 1135 (Fed. Cir. 2018)................................................................................................10
                                                                    iii
 Case 1:19-cv-01986-MN Document 19 Filed 01/30/20 Page 4 of 15 PageID #: 259




Roswell Capital Partners LLC. v. Beshara,
   436 F. App’x 34 (2d Cir. 2011) .................................................................................................4

Samsung Elecs. Co. v. ON Semiconductor Corp.,
   541 F. Supp. 2d 645 (D. Del. 2008) ...........................................................................................8

Vaupel Textilmaschinen KG v. Meccanica Euro Italia SPA,
   944 F.2d 870 (Fed. Cir. 1991)................................................................................................3, 4

WAG Acquisition, LLC v. Multi Media, LLC,
  2019 WL 3804135 (D.N.J. Aug. 13, 2019) ...............................................................................2

Waterman v. Mackenzie,
   138 U.S. 252 (1891) ...................................................................................................................2

Statutes

35 U.S.C. § 261 ................................................................................................................................7




                                                                       iv
 Case 1:19-cv-01986-MN Document 19 Filed 01/30/20 Page 5 of 15 PageID #: 260




I.        INTRODUCTION

          Arbor Global Strategies (“AGS”)’s opposition to Xilinx’s motion to dismiss confirms that

AGS is not in possession of a valid assignment of the Patents-in-Suit. This is a fatal jurisdictional

defect. See Abraxis Bioscience, Inc. v. Navinta LLC, 625 F.3d 1359, 1364–68 (Fed. Cir. 2010)

(vacating jury verdict and reversing district court after three years of litigation due to lack of

standing because, like here, plaintiff did not possess title when it filed lawsuit). AGS’s opposition

also confirms that it has essentially pled non-infringement of the asserted Patents-in-Suit.

II.       AGS HAS NOT SHOWN IT HAD STANDING TO BRING THIS LAWSUIT

          A.     Arbor Company Assigned the Ownership of and the Right to Sue on the
                 Patents-in-Suit to Mary Ann Guzy and Mark Guzy

          AGS’s opposition asks this Court to ignore the terms of the February 23, 2009 assignment

agreement between Arbor Company LLLP (“Arbor”) and Mary Ann Guzy and Mark Guzy. AGS’s

claim, D.I. 15 at 6, that this “patent collateral assignment merely conveyed a security interest in

the asserted patents,” is wrong as a matter of law. See Lone Star Silicon Innovations LLC v. Nanya

Tech. Corp., 925 F.3d 1225, 1229 (Fed. Cir. 2019) (considering if agreement was an assignment,

and holding that the “inquiry depends on the substance of what was granted”). Here, by the 2009

Agreement, D.I. 13-1, Ex. A at Frame: 0205, Arbor “grant[ed], assign[ed], and convey[ed]” to

Mary Ann Guzy and Mark Guzy:

         “the entire right, title and interest in and to the Patents[-in-Suit].” Id. (emphasis added).

         “the right to sue for past, present and future infringements.” Id. (Emphasis added.)

         “all rights corresponding thereto throughout the world and all reissues, divisions,

          continuations, renewals, extensions and continuations-in-part.” Id. (Emphasis added.)

The transfer of the “right to sue” here is particularly important, where “the right to sue for past

infringement ‘must be express, and cannot be inferred from an assignment of the patent itself.’”


                                                    1
 Case 1:19-cv-01986-MN Document 19 Filed 01/30/20 Page 6 of 15 PageID #: 261




Abraxis 625 F.3d at 1367; Arachnid, Inc. v. Merit Indus., Inc., 939 F.2d 1574, 1579 n.7 (Fed. Cir.

1991) (collecting cases).1

       Once Arbor executed the February 2009 Agreement to “grant[], assign[], and convey[]” its

patent rights, ownership of the patents passed to Mark Guzy and Mary Ann Guzy. In re Cybernetic

Servs., Inc., 252 F.3d 1039, 1050-51 (9th Cir. 2001) (“Supreme Court precedent supports our view

that the terms ‘assignment, grant or conveyance’ [of a patent] refer to ownership interests only.”)

(quoting and discussing Waterman v. Mackenzie, 138 U.S. 252, 255 (1891). As Cybernetic

explains, 252 F.3d at 1051, the Supreme Court held in Waterman that even if a patent is assigned

“as collateral” (as AGS now argues) it is still a transfer of ownership:

       The plaintiff in Waterman assigned to his wife a patent for an improvement in
       fountain pens…. The wife then assigned the patent to a third party as collateral for
       a debt; the document concerning this arrangement was filed with the PTO. Finally,
       the wife assigned the patent back to the plaintiff. The question for the Court was
       whether the plaintiff had standing to bring an action for infringement of the patent.
       The Court held that only the third party had standing. 138 U.S. at 261.
       ...
       Whether a particular conveyance qualifies as an assignment or a license “does not
       depend upon the name by which it calls itself, but upon the legal effect of its
       provisions,” id. at 256; that is, whether title is passed depends on the rights that
       were transferred by the contracting parties. Only the holder of an ownership
       interest in the patent had standing to sue.

Id. (citing Waterman, 137 U.S. at 256-61) (emphasis added); see also Vaupel Textilmaschinen KG

v. Meccanica Euro Italia SPA, 944 F.2d 870, 875 (Fed. Cir. 1991) (“the term ‘assignment” has a


1
  The grant from Arbor to Mark and Mary Ann Guzy of the “right to sue” and exclude others from
practicing the patents shows that the Guzys had more than a “mere security interest” in the patents.
See, e.g., Kowalski v. Mommy Gina Tuna Res., No. CIV. 05-00679 BMK, 2008 WL 583553, at
*3 (D. Haw. Mar. 3, 2008) (“[A] security interest [is] not a present ownership interest. . . . Without
an ownership interest in the patent itself, [a person] does not now have, nor has . . . ever had, the
right to sue others for infringement . . . .”); WAG Acquisition, LLC v. Multi Media, LLC, No.
CV142340ESMAH, 2019 WL 3804135, at *4 (D.N.J. Aug. 13, 2019) (“Plaintiff agreed to give
[third party] a security interest in the patents as collateral, and [third party] may convert the patents
to its name if Plaintiff defaults. . . . [Third party’s] right to convert the patents [is] a ‘contingenc[y]’
that does ‘not confer exclusionary rights.’”).

                                                    2
 Case 1:19-cv-01986-MN Document 19 Filed 01/30/20 Page 7 of 15 PageID #: 262




particular meaning in patent law, implying formal transfer of title.”). Here, Arbor explicitly

“grant[ed], assign[ed], and convey[ed] the entire right, title and interest in and to the Patents[-in-

Suit]” as well as “the right to sue for past, present and future infringements,” i.e, a complete bundle

of ownership rights. D.I. 13-1, Ex. A at Frame: 0205

       B.      AGS Has Not Shown Any Assignment From Mark Guzy or Mary Ann Guzy

       The 2009 Agreement provides no automatic mechanism by which any title or right to sue

would pass from Mary Ann or Mark Guzy to any other party. Instead, there is a future promise

that, “[a]t such time as Assignee executes the Release” the “Assignee shall execute and deliver to

Assignor all deeds, assignments and other instruments as may be necessary or proper to re-vest in

Assignor full title to the Patents, subject to any disposition thereof which may have been made by

Assignee pursuant hereto.” D.I. 13-1, Ex. A, Frame: 0206 at ¶ 8.

       Under binding Federal Circuit law, a contractual provision that states a person “shall

execute and deliver” “reflects a mere promise to assign rights in the future, not an immediate

transfer of expectant interests.” Abraxis Bioscience, Inc. v. Navinta LLC, 625 F.3d 1359, 1365

(Fed. Cir. 2010). That is, “[c]ontracts that obligate a patent owner to grant rights in the future do

not vest legal title to the patents.” Id. Here, Mary Ann and Mark Guzy may—or may not—be

under a ripe contractual obligation to assign their rights to “Assignor” Arbor (not Plaintiff AGS)

“subject to any disposition thereof which may have been made by [Mary Ann and Mark Guzy].”

But in either case, (1) no such assignment of rights has occurred, and (2) any dispute as to this

issue is not between AGS and Xilinx.2


2
 Though not an issue before this Court, AGS has not shown that this contractual provision is ripe.
The condition precedent for this clause is the execution of a release, and AGS concedes in its
opposition that “Arbor Company did not require Mark and Mary Ann to execute separate releases
of parties,” D.I. 15 at 5 n.3 (emphasis added); further, AGS does not contest Xilinx’s observation
that Arbor, Mark and Mary Ann Guzy are still in litigation with each other. D.I. 12 at 5 n.4.

                                                  3
Case 1:19-cv-01986-MN Document 19 Filed 01/30/20 Page 8 of 15 PageID #: 263




       C.      AGS’s Opposition Relies on Inapposite Case Law And Ignores Binding
               Federal Circuit Precedent

       In opposing Xilinx’s motion, AGS primarily relies on cases that have nothing to do with

patent law, and AGS’s chief patent authority is a single unpublished opinion which the judge

quickly amended and stayed for interlocutory review by the Federal Circuit. Moreover, AGS

disregards binding Federal Circuit law contrary to its position.

       AGS first relies on cases that have nothing to do with patents, such as a case involving a

right to future revenues from a government contract offered to secure a bank loan, Applied Cos.

v. U.S., 144 F.3d 1470, 1473-77 (Fed. Cir. 1998), and a summary decision case involving

promissory notes, Roswell Capital Partners LLC. v. Beshara, 436 F. App’x 34, 35 (2d Cir. 2011).

These cases are not talking about patent assignments, which have “a particular meaning in patent

law, implying formal transfer of title.” Vaupel, 944 at 875; Cybernetic, 252 F.3d at 1049-51

(citing Waterman, 137 U.S. at 256-61) (noting patent “assignment” refers to a transaction that

“transferred specific rights in the patent, all involving the patent’s title.”) The inapplicability of

these cases is underscored by AGS’s confused argument that an assignment can “extinguish” and

its reference to these cases involving liens. D.I. 15 at 6 & n.4 (citing a case stating “[i]f the claim

disappears—poof! the lien is gone”).

       There is no “poof” to “extinguish” ownership; such vocabulary is simply not applicable to

questions of title. Rather, when Arbor and Mary Ann and Mark Guzy executed the 2009

assignment, Arbor’s ownership of the patents transferred to Mark and Mary Ann Guzy, complete

with the explicit right to sue others. Cf. Cybernetic, 252 F.3d at 1051 (collecting Supreme Court

cases for the teaching that “whether title is passed depends on the rights that were transferred by

the contracting parties. Only the holder of an ownership interest in the patent had standing to

sue.”). AGS is now trying to concoct an automatic transfer of patent rights away from Mary Ann


                                                  4
Case 1:19-cv-01986-MN Document 19 Filed 01/30/20 Page 9 of 15 PageID #: 264




and Mark Guzy that explicitly does not exist in the terms of the 2009 assignment agreement, as

discussed above. Contrast DDB Techs., L.L.C. v. MLB Advanced Media, L.P., 517 F.3d 1284,

1290 (Fed. Cir. 2008) (discussing an agreement where transfer of ownership is “automatic,

requiring no further act on the part of the assignee”).

       The only case cited by AGS that involves a true “security interest” in a patent demonstrates

how a true “security interest” situation is inapplicable to the facts at hand. In Kanematsu Corp.

v. Advanced Materials Lanxide, LLC, No. CIV.A. 01-190-JJF, 2002 WL 32332375, at *5-6 (D.

Del. Sept. 30, 2002), the Court observed that whether “a transaction should be considered an

assignment” depends on “whether the ‘obligee manifests an intention to transfer present

ownership of the right.’” Id. (citation omitted). Contractual language that did not contain any

“assignment, divestiture of title, or transfer of ownership” was not a transfer of ownership. Id.

The Court then considered explicit language that stated only that “[i]n order to secure payment to

[Kanematsu] by Lanxide of any remaining balance of the $10 million loan obligation . . . Lanxide

hereby grants to [Kanematsu] a first and prior security interest in all of LTC’s Japanese patents.”

Id. at *2. The Court noted that this “plain language” was for creation of a “security interest” and

there was no argument that such an explicit provision transferred ownership. Id. at *6-7. In

contrast, the case now before this Court involves an Agreement that “grants, assigns, and conveys

. . . the entire right, title and interest in and to the Patents[-in-Suit and] the right to sue for past,

present and future infringement.” Under the very Kanematsu case that AGS cites, the language

in the 2009 assignment agreement “express[es] intent to transfer ownership.” Id. at *5.

       Finally, AGS’s reliance on the unpublished opinion in Gerber Sci. Int’l, Inc. v. Satisloh,

No. 07-CV-1382, 2009 WL 2869705 (D. Conn. Sept. 2, 2009) is not helpful. First, AGS fails to

disclose that the Gerber judge amended his opinion, stayed his decision, and certified his order



                                                   5
Case 1:19-cv-01986-MN Document 19 Filed 01/30/20 Page 10 of 15 PageID #: 265




for review by the Federal Circuit after the Defendant moved for interlocutory appeal. See Ex. A,

Gerber Sci. Int’l, Inc. v. Satisloh, No. 07-CV-1382, D.I. 103 (D. Conn. Sept. 25, 2009).3 The

Defendant in its motion for interlocutory review cited Federal Circuit and Supreme Court

precedent that the document was not a “mere security interest” and that there had been no transfer

back to the purported plaintiff. See Ex. B, Gerber Sci. Int’l, Inc. v. Satisloh, No. 07-CV-1382,

D.I. 102 at *5-7 (D. Conn. Sept. 14, 2009). The issue was certified, but the parties settled before

the Federal Circuit heard the appeal.

         Second, unlike here, the third party in Gerber had “filed an express termination of its

interest in the patents” and provided sworn testimony to the Gerber judge wherein the third party

“declared that it has no ‘right, title, or interest’ in the patent,” 2009 WL 2869705, at *6 (citing

third party declaration). In contrast here, there has been no such declaration or testimony from

the last unbroken owners of record in the USPTO’s Patent Assignment database, i.e., Mark Guzy

or Mary Ann Guzy, let alone a valid assignment made prior to initiation of this lawsuit. It is not

even clear if AGS or Arbor (which is apparently controlled by other members of the Guzy family)

have informed Mary Ann or Mark Guzy of AGS’s ex parte assumption of the patent rights.

         Third, the unpublished and stayed district court order in Gerber from 2009 predates

published binding Federal Circuit precedent, including Abraxis Bioscience, Inc. v. Navinta LLC,

625 F.3d 1359, 1364–65 (Fed. Cir. 2010). Gerber’s starting premise that “state law governs

interpretation of the [patent] assignment contract” is incorrect, where Abraxis holds that whether

there is automatic assignment “is intimately bound up with the question of standing in patent cases

[and is thus] a matter of federal law.” Abraxis, 625 F.3d at 1364. Moreover, the Federal Circuit’s

holding in Abraxis that “contracts that obligate the owner to grant rights in the future do not vest


3
    Exhibits A and B are attached to the Declaration of Ronald P. Golden III, filed at D.I. 20.

                                                  6
Case 1:19-cv-01986-MN Document 19 Filed 01/30/20 Page 11 of 15 PageID #: 266




legal title to the patents in the assignee,” id. at 1364-65 (emphasis added), effectively distinguishes

any of Gerber’s reasoning that treated “shall” language as “a contract which states that patent

rights re-vest with assignor at termination.” Gerber, 2009 WL 2869705 at *5-6 & n.2. As Abraxis

holds, “a mere promise to assign rights in the future [is] not an immediate transfer of expectant

interests.” Abraxis, 625 F.3d at 1364. In sum, as noted in Xilinx’s motion, “[Arbor] could not

assign the patents [to AGS] because [Arbor] did not possess their titles. [Arbor] had no legal title

to assign and, therefore, [AGS] lacked standing to commence this litigation.” Id. at 1365.4

       D.      AGS’s Additional Materials Beyond the Pleadings Do Not Evince Standing

       AGS attaches several exhibits to its opposition, but none shows that it had standing to

initiate this lawsuit. First, AGS attaches an alleged “Settlement Agreement” that contains no

transfer of patent rights from Mary Ann or Mark Guzy. Ex. 16-1 at Ex. 1. Second, AGS attaches

alleged UCC Filing records that mention “certain consumer goods, personal property, artwork,

antiques, and jewelry” and do not mention any patents. Nor are they a transfer of patent rights

from Mary Ann or Mark Guzy. Ex. 16-1 at Ex. 2-3. Third, AGS attaches a court filing by Mark

Guzy that again does not mention the patents, and is neither a transfer of patent rights nor a release.

Ex. 16-1 at Ex. 4. Fourth, AGS attaches an order relating to a judgment wherein “all liens and

notice of liens [by Mary Ann Guzy] are extinguished.” Ex. 16-1 at Ex. 5. But the present case

before this Court does not involve a “lien” (whether “extinguished” or not); this case is about title.

Ex. 5 does not mention patents and is not a transfer of any Patent rights. Fifth, AGS attaches the


4
  AGS’s final remaining substantive case citation is similarly unhelpful to AGS’s position. AGS
cites Akazawa v. Link New Tech. Int’l, Inc., 520 F.3d 1354, 1357 (Fed. Cir. 2008) for the
proposition that “ownership of a patent may be changed by operation of law.” That is correct and
unremarkable, and in Akazawa, the only such example discussed is intestacy and “ownership of
a patent following a patent owner’s death.” The case also notes that “patent ownership may be
transferred by assignment, and section 261 addresses such a transfer—requiring assignments to
be in writing. See 35 U.S.C. § 261.” Akazawa, 520 F.3d at 1356 (emphasis added).

                                                  7
Case 1:19-cv-01986-MN Document 19 Filed 01/30/20 Page 12 of 15 PageID #: 267




same recent defective assignment by Arbor Company and AGS that Xilinx had attached to its

motion to dismiss, D.I. 13-1, Ex. C.

       Xilinx put AGS on notice of its standing defect through its informal November 15, 2019

letter. D.I. 13-1, Ex. D. Since that time, despite repeated requests, AGS has failed to produce a

valid assignment from Mary Ann and Mark Guzy, which is a de facto admission that it does not

possess one. For the reasons given in its motion and above, AGS has failed to meet its burden to

show it had standing to initiate this lawsuit. Lujan v. Defs. of Wildlife, 504 U.S. 555, 561 (1992);

Samsung Elecs. Co. v. ON Semiconductor Corp., 541 F. Supp. 2d 645, 648 (D. Del. 2008).

III.   THE COMPLAINT DOES NOT PLAUSIBLY ALLEGE INFRINGEMENT AND
       INSTEAD PLAUSIBLY ALLEGES NON-INFRINGEMENT

       AGS’s opposition glosses over its failure to allege that the Accused Products meet any of

the asserted claims. Contrary to AGS’s argument, this is not an issue of claim construction: there

is nothing to construe when the Complaint is simply missing any allegation of required elements.

For example, as Xilinx argued in its motion, AGS does not allege that the Accused Products

contain a “microprocessor integrated circuit die element stacked with and electrically coupled to

said programmable array” as required by asserted claim 1 in U.S. Patent No. 6,781,226. D.I. 1,

Ex. 1 at 6:16-26 (emphasis added). The Complaint is similarly deficient as to the asserted claims

of the other Patents-In-Suit.5 A search of the Complaint confirms that taking all well-pleaded facts

as true, the Complaint fails to allege stacking of these required circuit elements, and does not


5
  Compare Complaint, D.I. 1 (failing to allege the following bolded patent claim requirements)
 with asserted claim 1 in U.S. Patent No. 7,126,214, D.I. 1, Ex. 2 at 7:56-67 (reciting “memory
 array stacked with and electrically coupled to said field programmable gate array”); asserted
 claim 1 in 7,282,951, D.I. 1, Ex. 3 at 7:58-8:4 (reciting “second integrated circuit [including a
 memory array] stacked with and electrically coupled to said programmable array”); asserted
 claim 23 in RE42,035, D.I. 1, Ex. 4 at 7:39-49 (reciting “memory array stacked with and
 electrically coupled to said field programmable gate array”).


                                                 8
Case 1:19-cv-01986-MN Document 19 Filed 01/30/20 Page 13 of 15 PageID #: 268




state a claim for relief. See Horatio Washington Depot Techs. v. TOLMAR, No. 17-1086-LPS-

CJB, 2018 WL 5669168, at *11-12 (D. Del. Nov. 1, 2018), report and recommendation adopted,

2019 WL 1276028 (D. Del. Mar. 20, 2019) (“Defendants are correct that Plaintiff has not pleaded

facts relating to these claim limitations, sufficient to explain why it is plausible that Defendants’

product/acts satisfy those elements of the claims.”).6

       AGS now attempts to augment its pleadings by attaching extraneous exhibits and creating

figures and arguments that are not in the patents or Complaint. See D.I. 15 at 16 (AGS’s new

illustration not in the pleadings). But even if the Court does not exclude and considers materials

beyond the Complaint, they are not helpful to AGS as they do not disclose the missing claim

requirements. Indeed, AGS creatively quotes from its own Exhibit 8, excluding language that the

accused products’ “SSI technology avoids the power and reliability issues that can result from

stacking multiple FPGA dies on top of each other.”7 See D.I. 16-1, Ex. 8 at 4 (emphasis added);

D.I. 15 at 17 (quoting Ex. 8). If anything, like the allegations in AGS’s Complaint, these materials

show the opposite of what is required by the Patents-In-Suit.

       Contrary to its argument in opposition, claim construction is not necessary for the Court to

dismiss AGS’s claims, as the asserted claims’ stacking requirements are the opposite of the

Complaint’s allegations that circuit elements are “side-by-side.” See D.I. 1, ¶¶ 26, 28, 37, 38, 39,

41, 56, 58, 74, 75, 76, 92, 93. “No claim construction is necessary in order to determine that


6
 Xilinx pointed to this problem in its motion, but AGS’s response ignores the issue. Another
example from Xilinx’s motion is that Complaint “paragraph 57 uses the term ‘electrically
coupled’ which is language that appears immediately adjacent to the ‘stacked’ limitation in ’214
Patent claim 1 [recited for the Court’s convenience at D.I. 12 at 12] but the Complaint pointedly
omits any allegation that the FPGA and memory are ‘stacked.’” D.I. 12 at 12-13. AGS would
need a Rule 11 basis to allege these missing elements, but they are not in the accused products.
7
 AGS’s opposition now reveals AGS omitted the second half of the sentence above from its
Complaint that actually distinguishes the technology “from stacking.” See Compl. ¶¶ 38, 41, 58,
74, 76, 93 (alleging only that “SSI technology avoids the power and reliability issues.”)

                                                 9
Case 1:19-cv-01986-MN Document 19 Filed 01/30/20 Page 14 of 15 PageID #: 269




[reciting a claim element] means that a claim [includes that element].” Cumberland Pharm. Inc.

v. Sagent Agila LLC, No. 12-825-LPS, 2013 WL 5913742, at *2 (D. Del. Nov. 1, 2013). In other

words, if the Patent claim requires an element to be present, a valid Complaint cannot show that

the element is not present in the Accused Products. Yet, that is precisely the situation here.

       Furthermore, AGS’s alternate request to amend would be futile. See Alston v. Parker, 363

F.3d 229, 235 (3d Cir. 2004) (amendment need not be permitted where it would be “futile”); Ottah

v. BMW, 230 F. Supp. 3d 192, 198 (S.D.N.Y. 2017), aff'd sub nom. Ottah v. Fiat Chrysler, 884

F.3d 1135 (Fed. Cir. 2018) (“The plain language of the [patent] demonstrates that the SAC cannot

be amended to cure its fundamental defects, and accordingly, it is dismissed with prejudice in its

entirety.”) AGS has already alleged that the integrated circuits in the accused products, specifically

the FPGA and memory, are side-by-side. See D.I. 1 ¶¶ 26, 28, 37, 39, 56, 58, 75, 92 (“FPGA” and

“memory” side-by-side). Having made this representation to the Court, AGS cannot amend its

Complaint to declare the opposite, that these components are actually stacked. Cumberland, 2013

WL 5913742, at *3 (closing case where complaint alleged non-infringement).

IV.    CONCLUSION

       For the reasons discussed above and in its initial motion, AGS has failed to demonstrate

constitutional or statutory standing, or remedy its pleading that the Accused Products effectively

do not infringe the Patents-in-Suit. Xilinx respectfully requests this Court GRANT its motion to

dismiss on all grounds.




                                                 10
Case 1:19-cv-01986-MN Document 19 Filed 01/30/20 Page 15 of 15 PageID #: 270




Dated: January 30, 2020      FISH & RICHARDSON P.C.



                             By: /s/ Ronald P. Golden III
                                  Ronald P. Golden III (#6254)
                                  222 Delaware Avenue, 17th Floor
                                  Wilmington, DE 19801
                                  (302) 652-5070
                                  golden@fr.com

                                  David M. Hoffman
                                  111 Congress Avenue, Suite 810
                                  Austin, TX 78701
                                  (512) 472-5070
                                  hoffman@fr.com

                                  Jeffrey Shneidman
                                  One Marina Park Drive
                                  Boston, MA 02210
                                  (617) 542-5070
                                  shneidman@fr.com

                             ATTORNEYS FOR DEFENDANT
                             XILINX, INC.




                                      11
